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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS

RSUI INDEMNITY COMPANY,                                      )
                                                             )
          Plaintiff,                                         )
                                                             )           No.:
                            vs.                              )
                                                             )
RUSH STREET GAMING, LLC, RUSH STREET                         )
INTERACTIVE, LLC, RUSH STREET                                )
INTERACTIVE, LP, NEIL BLUHM, GREG                            )
CARLIN, and TODD L. ANDERSON,                                )
                                                             )
          Defendants.                                        )

                           COMPLAINT FOR DECLARATORY JUDGMENT

          Plaintiff, RSUI Indemnity Insurance Company (“RSUI”), by and through its counsel,

submits this Complaint for Declaratory Judgment under U.S.C. §§ 2201 and 2202 against

defendants Rush Street Gaming, LLC, Rush Street Interactive, LLC, Rush Street Interactive, LP,

Neil Bluhm, Greg Carlin, and Todd L. Anderson, and states as follows:

                                         NATURE OF ACTION

          1.         This is an action for declaratory judgment, brought pursuant to U.S.C. §§ 2201 and

2202, seeking a declaration that no coverage exists under an insurance policy issued by RSUI.

          2.         RSUI seeks a declaration that it owes no obligation to indemnify Rush Street

Gaming, LLC, Rush Street Interactive, LLC, Rush Street Interactive, LP, Neil Bluhm, or Greg

Carlin (collectively “Rush Street Defendants”) in connection with a lawsuit styled Todd L.

Anderson v., Rush Street Gaming, LLC, Rush Street Interactive, LLC, Rush Street Interactive, LP,

Neil Bluhm, and Greg Carlin, Case No. 1:20-cv-04794, pending in the United States District Court

for the Northern District of Illinois (“the Anderson Action”).




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         3.        RSUI undertook a defense of the Rush Street Defendants in connection with the

Anderson Action under a complete reservation of rights, including its rights concerning the duty to

indemnify the Rush Street Defendants for any judgment or settlement in the Anderson Action.

         4.        On June 21, 2022, the Rush Street Defendants tendered to RSUI a Confidential

Settlement and Release Agreement executed in the Anderson Action. RSUI declined coverage for

the settlement, asserting that pursuant to certain provisions of RSUI’s insurance policy, RSUI did

not have a duty to indemnify under the circumstances.

         5.        RSUI seeks a determination that it has no duty to indemnify the Rush Street

Defendants for the settlement in the Anderson Action.

         6.        As a result of the dispute between RSUI and the Rush Street Defendants regarding

insurance coverage for indemnification of the Anderson Action settlement, there is an actual case

or controversy between the parties.

                                              PARTIES

         7.        Plaintiff RSUI Indemnity Company is an insurance company organized and

existing pursuant to the laws of New Hampshire, with its principal place of business in Georgia.

         8.        Defendant Rush Street Gaming, LLC is a Delaware limited liability company with

its principal place of business in Chicago, Illinois. Each member of Rush Street Gaming, LLC is

a citizen of a state other than New Hampshire and Georgia.

         9.        Defendant Rush Street Interactive, LLC was a Delaware limited liability company

with its principal place of business in Chicago, Illinois, that was converted to a limited partnership

known as Rush Street Interactive, LP. Each member of Rush Street Interactive, LLC or Rush Street

Interactive, LP is a citizen of a state other than New Hampshire and Georgia.




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         10.       Defendant Neil Bluhm is the co-founder and Chairman of Rush Street Gaming,

LLC and Rush Street Interactive, LP. Mr. Bluhm is a citizen of Illinois.

         11.       Defendant Greg Carlin is the co-founder and Chief Executive Officer of Rush street

Gaming , LLC. Mr. Carlin is a citizen of Illinois.

         12.       Defendant Todd L. Anderson is the named plaintiff in the Anderson Action and is

a citizen of Minnesota.

         13.       Mr. Anderson is a nominal defendant named as an interested and necessary party

to this declaratory judgment action.

                                    JURISDICTION AND VENUE

         14.       This court also has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1332(a)(1)

and 1332(c)(1), because there is complete diversity between the plaintiff and defendants, and the

amount in controversy, exclusive of interest, exceeds $75,000.

         15.       Venue is proper pursuant to 28 U.S.C. §§ 1391(b)(1) and (2) because several

defendants reside in this District and a substantial part of the events giving rise to this claim

occurred in this District.

                                     FACTUAL BACKGROUND

A.       The Anderson Action

         16.       On August 14, 2020, Mr. Anderson filed his original Complaint in the Anderson

Action in the Northern District of Illinois.

         17.       On September 15, 2020, Mr. Anderson filed his First Amended Complaint in the

Anderson Action. The First Amended Complaint is the operative complaint in the Anderson Action

and is attached hereto as Exhibit A.




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         18.       In the Anderson Action, Mr. Anderson alleges that he and the Rush Street

Defendants became business partners in 2012 to create a new gaming-related business,

specifically, a Rush Street subsidiary based on televised poker.

         19.       The Rush Street Defendants allegedly offered Mr. Anderson employment by a

written term sheet providing Anderson with a 1% equity interest in Rush Street Interactive, LLC

that would vest over four years in addition to salary and other compensation.

         20.       Mr. Anderson alleges he accepted the terms of employment contained in the term

sheet, and that he and the Rush Street Defendants reached an oral agreement regarding the

remaining terms of Anderson’s employment.

         21.       While the Rush Street Defendants and Mr. Anderson allegedly worked towards

memorializing the employment agreement, Anderson began working with the Rush Street

Defendants pursuant to the agreement.

         22.       The Anderson Action alleges Mr. Anderson performed all of his duties under the

employment agreement.

         23.       The Rush Street Defendants allegedly performed all of their duties under the

employment agreement with the exception of recognizing Mr. Anderson’s 1% equity interest in

Rush Street Interactive.

         24.       In or around 2020, the Rush Street Defendants announced that Rush Street

Interactive would go public at a valuation of $1.78 billion.

         25.       On August 4, 2020, Mr. Anderson learned that the Rush Street Defendants did not

recognize and did not intend to honor his 1% ownership stake in Rush Street Interactive.

         26.       The Rush Street Defendants deny that Mr. Anderson has or is entitled to an

ownership stake in Rush Street Interactive.



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         27.       The Anderson Action asserted causes of action against the Rush Street Defendants

for breach of contract, breach of fiduciary duty, conversion, unjust enrichment, promissory

estoppel, and constructive fraud.

         28.       On October 13, 2020, the Rush Street Defendants filed a motion to dismiss the

Anderson Action.

         29.       On September 28, 2021, the Northern District of Illinois issued its Memorandum

Opinion and Order granting in part and denying in part the Rush Street Defendants’ motion to

dismiss (the “Order”). A true and correct copy of the Memorandum Opinion and Order, Dkt. 48,

is attached hereto as Exhibit B.

         30.       In its Order, the Northern District dismissed Mr. Anderson’s causes of action for

breach of fiduciary duty, unjust enrichment, and constructive fraud, leaving remaining causes of

action for breach of contract, conversion, and promissory estoppel.

B.       The Policy

         31.       RSUI issued Private Company Management Liability Policy number NPP683905

to Rush Street Gaming Partners, LLC for the Policy Period of October 1, 2019 to October 1, 2020.

(“the RSUI Policy”). A true and correct copy of the RSUI Policy is attached hereto as Exhibit C.

         32.       The RSUI Policy contains an endorsement entitled “Additional Named Insured”

that amends the insured’s name in the Policy’s declarations to include Rush Street Gaming, LLC,

Rush Street Productions, LLC, and Rush Street Interactive, LLC.

         33.       The RSUI Policy contains form number RSG 241008 0118 providing employment

practices liability coverage to insureds subject to certain insuring agreements, limitations,

exclusions, and conditions.




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         34.       Section I. Insuring Agreements of form no. RSG 241008 0118 states in relevant

part as follows:

    A. Employment Practices Liability

         The Insurer shall pay Loss up to the Limit of Liability applicable to this Coverage
         Section on behalf of the Insured in connection with any Employment Practices
         Claim first made against any Insured during the Policy Period and reported in
         accordance with SECTION V. – CONDITIONS, C. Notice of Claim or
         Circumstance in the Common Policy Terms and Conditions of this policy.

         35.       Section IV. Exclusions of form no. RSG 241008 0118 states in relevant part as

follows:

         The Insurer shall not be liable to make any payment for Loss in connection with
         any Claim made against any Insured:

                                                ***
         5. Alleging, arising out of, based upon or attributable to, in whole or in part, any
            liability under or pursuant to any contract or agreement, whether oral, written,
            express or implied, including the liability of others assumed by an Insured,
            unless such Insured would have been liable in the absence of such contract or
            agreement; provided this EXCLUSION shall not apply to Defense Expenses in
            connection with an Employment Practices Claim;

         36.       The RSUI Policy contains an endorsement entitled “Illinois – Amended Definition

of Loss – Defense Claims for ADA” that states in relevant part as follows:

         B. SECTION III. - DEFINITIONS, G. of the Employment Practices Liability
            Coverage Section is deleted and replaced by the following:

               G. Loss means damages (including back pay and front pay), settlements,
                  judgments and Defense Expenses. Loss (other than Defense Expenses)
                  shall not include:

                                               ***
                   2. Amounts owed under any employment contract, partnership, stock or
                      other ownership agreement, or any other type of contract;

                   3. Disability, social security, workers compensation, medical insurance,
                      retirement or pension benefit payments, or settlement amounts
                      representing employment related benefit payments;



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                                                  ***
                   5. Any amounts owed to any Employee as wages or compensation
                      previously incurred or vested without regard to any Claim;

                                                 ***
                   9. Matters that may be uninsurable under the law pursuant to which this
                      policy shall be construed.

C.       Coverage Communications

         37.       On September 21, 2020, the Rush Street Defendants notified RSUI and sought

coverage for the Anderson Action under the RSUI Policy.

         38.       On October 30, 2020, RSUI sent the Rush Street Defendants a letter advising that

RSUI would provide the Rush Street Defendants with a defense to the Anderson Action under a

complete reservation of rights.

         39.       RSUI undertook the defense of the Rush Street Defendants and continues to provide

a defense under a reservation of rights.

         40.       On June 21, 2021, the Rush Street Defendants provided RSUI with a Confidential

Settlement and Release Agreement executed by the parties to the Anderson Action. (“the

Settlement Agreement”).

         41.       The terms of the Settlement Agreement are confidential.

         42.       On June 21, 2022, 2021, RSUI declined to provide indemnification to the Rush

Street Defendants in connection with settlement of the Anderson Action because the relief sought

in the Anderson Action is excluded and does not constitute covered “Loss” under the RSUI Policy.

                            COUNT I – DECLARATORY JUDGMENT
                                      No Covered “Loss”

         43.       RSUI incorporates and restates its allegations set forth in paragraphs 1 through 41

as if fully set forth herein.




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          44.      An actual case or controversy exists between the parties concerning coverage under

the RSUI Policy for the Anderson Action.

          45.      The RSUI Policy’s definition of “Loss”, as amended by endorsement, removes

from coverage amounts owed under any type of contract, amounts representing employment

related benefit payments, amounts owed to any employee as wages or compensation, and any

matters uninsurable pursuant to applicable law.

          46.      The Anderson Action alleges that the Rush Street Defendants breached an

employment agreement with Mr. Anderson and seeks an award equal to the 1% equity interest Mr.

Anderson alleges he was owed as a compensation or benefit under his employment agreement with

the Rush Street Defendants.

          47.      Because the relief sought by the Anderson Action does not constitute covered

“Loss”, any settlement of the Anderson Action also is not covered under the RSUI Policy.

          48.      The terms of the Settlement Agreement in the Anderson Action also do not

constitute “Loss” as that term is defined in the RSUI Policy.1

          49.      RSUI therefore seeks a judicial declaration pursuant to U.S.C. §§ 2201 and 2202

that it has no duty to indemnify the Rush Street Defendants in connection with the Anderson

Action.

                             COUNT II – DECLARATORY JUDGMENT
                                          Exclusion 5

          50.      RSUI incorporates and restates its allegations set forth in paragraphs 1 through 41

as if fully set forth herein.




1
  As the terms of the Settlement Agreement are confidential, RSUI does not disclose any specifics of those terms at
this time and will seek an order from this Court permitting disclosure under seal.

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          51.      An actual case or controversy exists between the parties concerning coverage under

the RSUI Policy for the Anderson Action.

          52.      The RSUI Policy’s Exclusion 5. Precludes coverage for any Loss in connection

with any Claim alleging, arising out of, based upon, or attributable to, in whole or in part, any

liability under or pursuant to any contract or agreement, whether oral, written, express or implied.

          53.      The Anderson Action alleges that the Rush Street Defendants breached an

employment agreement with Mr. Anderson and seeks an award equal to the 1% equity interest Mr.

Anderson alleges he was owed as a compensation or benefit under his employment agreement with

the Rush Street Defendants.

          54.      Accordingly, the relief sought by the Anderson Action is excluded under Exclusion

5. to the RSUI Policy.

          55.      Because the relief sought by the Anderson Action is excluded under Exclusion 5. to

the RSUI Policy, any settlement of the Anderson Action also is not covered under the RSUI Policy.

          56.      RSUI therefore seeks a judicial declaration pursuant to U.S.C. §§ 2201 and 2202

that it has no duty to indemnify the Rush Street Defendants in connection with the Anderson

Action.



                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, RSUI Indemnity Company, respectfully requests that this Court

find in their favor and enter judgment as follows:

          (a)      Judicial declaration that RSUI has no duty to indemnify the Rush Street
                   Defendants under Policy No. NPP683905 in connection with the Anderson
                   Action;




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         (b)       Any further relief that this Court deems just and equitable under the
                   circumstances.

Dated: June 22, 2022                          Respectfully Submitted,

                                                     WALKER WILCOX MATOUSEK LLP


                                              By:    /s/ Kevin A. Lahm
                                                     Attorneys for RSUI Indemnity Insurance
                                                     Company

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